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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


JESSICA JONES, et al.,                               Case No. 2:20-cv-02892-SHL-tmp

                   Plaintiffs,

v.

VARSITY BRANDS, LLC, et al.

                   Defendants.
                                                     JURY DEMAND

   INDIRECT PURCHASER PLAINTIFFS’ NOTICE OF NON-OPPOSITION OF
     PLAINTIFFS’ MOTION FOR AN AWARD OF ATTORNEYS’ FEES, FOR
REIMBURSEMENT OF EXPENSES, AND FOR SERVICE AWARDS FOR THE CLASS
                         REPRESENTATIVES


       Indirect Purchaser Plaintiffs (“Plaintiffs”) Chrisina Lorenzen, Jessica Jones, and Amy

Coulson, by and through Class Counsel, hereby provide notice to the Court that there have been

no objections or opposition to Plaintiffs’ pending motion for an award of attorneys’ fees, costs,

and service awards for the class representatives, ECF No. 623.

       On May 13, 2024, Plaintiffs filed a motion for preliminary approval of the settlement. See

ECF No. 606. Within that motion, Plaintiffs put forward a comprehensive notice plan that would

be conducted by the settlement administrator, Angeion. See ECF No. 606-4 (Weisbrot
Declaration) at ¶¶ 18–56. On June 18, 2024, the Court preliminary approved the settlement and

ordered the notice plan to commence. See ECF No. 612 at 29 (requiring the notice plan to be

completed by July 18, 2024). The Court further ordered that September 26, 2024 would be the

deadline for any class member to “object to the proposed Settlement, Settlement Class Counsel’s

request for attorneys’ fees, unreimbursed litigation costs and expenses, or service awards for the

Class Representatives.” See id. at 30. On September 3, 2024, Plaintiffs filed a motion for an

award of attorneys’ fees, costs, and for service awards. ECF No. 623.



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       Through this notice of non-opposition, Plaintiffs wish to notify the Court that there have

been no objections to the proposed settlement, class counsel’s request for attorneys’ fees and

costs, or to class counsels’ request for service awards to the Plaintiffs. See Decl. of D. Seidel at

¶¶ 5–7. On October 8, the class administrator provided a declaration stating that there have been

no objections or opt-outs. Id. at ¶ 2 and Exhibit A.



Dated: October 9, 2024                            Respectfully submitted,

                                                  By:       /s/ David Seidel
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